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Jeffrey S. Ratliff
RANSOM, GILBERTSON,
MARTIN & RATLIFF, LLP
8401 NE Halsey Street Suite 208
Portland, OR 97220
T: 503-226-3664
F: 503-243-6716
rgmrl500@gmail.com

                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF OREGON

 ROBERT SOLIS, Individually and on behalf              Case No:
 of all others similarly situated,
                                                       CLASS ACTION COMPLAINT FOR
         Plaintiff'                                    VIOLATIONS OF THE FEDERAL
                                                       SECURITIES LAWS
         V.

                                                       JURY TRIAL DEMANDED
 LEXINFINTECH HOLDINGS LTD., JAY
 WENJIE XIAO, and CRAIG YAN ZENG,

         Defendants.



        Plaintiff Robert Solis ("Plaintiff'), individually and on behalf of all other persons

similarly situated, by Plaintiff's undersigned attorneys, for Plaintiff's complaint against

Defendants (defined below), alleges the following based upon personal knowledge as to

Plaintiff and Plaintiff's own acts, and information and belief as to all other matters, based upon,

7./7/er c7/i.c7, the investigation conducted by and through his attorneys, which included, among


other   things,    a   review   of the   Defendants'    public    documents,   conference   calls   and

announcements made by Defendants, United States Securities and Exchange Commission

("SEC") filings, wire and press releases published by and regarding LexinFintech Holdings Ltd.

("LexinFintech" or the "Company"), and information readily obtainable on the Internet.

Plaintiff believes that substantial evidentiary support will exist for the allegations set forth

herein after a reasonable opportunity for discovery.


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                                   NATURE 0F THE ACTION

1.         This is a class action on behalf of persons or entities who purchased or otherwise

acquired publicly traded LexinFintech securities between April 30, 2019 and August 24, 2020,

inclusive (the "Class Period"). Plaintiff seeks to recover compensable damages caused by

Defendants' violations of the federal securities laws under the Securities Exchange Act of 1934


(the "Exchange Act").

                                  JURISDICTION AND VENUE

2.         The claims asserted herein arise under and pursuant to sections 10(b) and 20(a) of the

Exchange Act (15 U.S.C. §§78j(b) and 78t(a)) and Rule lob-5 promulgated thereunder by the

SEC (17 C.F.R. §240.lob-5).


3.         This court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §

1331, and Section 27 of the Exchange Act (15 U.S.C. §78aa).

4.         Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b) and section 27 of


the Exchange Act (15 U.S.C. §78aa(c)) as the alleged misstatements entered and the subsequent

damages took place in this judicial district.

5.         In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and

the facilities of the national securities exchange.

                                                PARTIES

6.         Plaintiff, as set forth in the accompanying certification, incorporated by reference herein,


purchased LexinFintech securities during the Class Period and was economically damaged

thereby.




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7.      Defendant LexinFintech through its subsidiaries, purports to operate as an online

consumer finance platform for young professionals in the People's Republic of China. The

Company operates Fenqile.com, a retail and online consumer finance platform that offers

installment purcliase loans, personal installment loans, and other loan products, as well as


provides online direct sales with installment payment terms; and Le Card, a membership

platform, which offers savings, benefits, and membership privileges to food and beverage,

apparel, hospitality, and leisure sectors. LexinFintech is incorporated in the Cayman Islands

with headquarters in Shenzen, PRC. LexinFintech's securities trade on NASDAQ under the

ticker symbol "LX."

8.      Defendant Jay Wenjie Xiao ("Xiao") has served as the Company's Chief Executive

Officer ("CEO") throughout the Class Period.


9.      Defendant Craig Yam Zeng ("Zeng") has served as the Company's Chief Financial


Officer ("CFO") from April 2010 until June 1, 2020.

10.     Defendants Xiao and Zeng are collectively referred to herein as the "Individual

Defendants."

11.     Each of the Individual Defendants:


               (a)    directly participated in the management of the company;

               (b)     was directly involved in the day-to-day operations of the company at the

                      highest levels;


               (c)    was    privy      to    confidential   proprietary   information concerning the

                      Company and its business and operations;




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               (d)     was directly or indirectly involved in drafting, producing, reviewing

                      and/or disseminating the false and misleading statements and information

                      alleged herein;


               (e)     was directly or indirectly involved in the oversight or implementation of

                      the Company's internal controls;


               (D      was aware of or recklessly disregarded the fact that the false and

                      misleading statements were being issued concerning the Company;

                      and/or

               (g)     approved or ratified these statements in violation of the federal securities

                      laws.


12.      LexinFintech is liable for the acts of the Individual Defendants and its employees under

the doctrine of 7.eLspo7?c7ccz/ szjperz.or and common law principles of agency because all of the

wrongful acts complained of herein were carried out within the scope of their employment.

13.      The scienter of the Individual Defendants and other employees and agents of the

Company is     similarly imputed to LexinFintech under 7.espo77deo/ j'wper7.or and agency


principles.

14.      Defendants LexinFintech and the Individual Defendants are collectively referred to

herein as "Defendants."

                              SUBSTANTIVE ALLEGATIONS
                               Materially False and Misleading
                          Statements Issued During the class Period


15.      On April 30, 2019, the company filed its annual report on Form 20-F for the year ended

December 31, 2018 with the SEC (the "2018 20-F"). The 2018 20-F was signed by Defendant

Xiao. The 2018 20-F contained signed certifications by Defendants Xiao and Zeng pursuant to




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the Sarbanes-Oxley Act of 2002 ("SOX") attesting to the accuracy of financial reporting, the

disclosure of any material changes to the Company's internal controls over financial reporting,

and the disclosure of all fraud.


16.      The 2018 20F stated the following concerning the Company's off-balance sheet loans,

downplaying their riskiness:


        (a)   Loans funded by individual investors on Juzi Licai after A.I)ril 24. 2018

       0n April 24, 2018, we made some adjustments to our business model for new
       loans funded by individual investors on /nej. £[.ccz7. (the "Juzi New Model"). Under
       the Juzi New Model, our roles include (1) matching the borrowing requests from
       the borrowers with the individual investors on Jitz7. £z.c¢z., (2) processing monthly
       repayment from the borrowers according to the terms of the Underlying Loan
       Agreements through third-party custodian bank accounts, and (3) providing
       ongoing management services to individual investors over the terms of respective
       Investment Programs.

       Under tlie Juri New Model, we act as an intermediary between the borrower and
       the individual investors. Pursuant to the Underlying Loan Agreement and the
       Investment Programs, the individual investors are entitled to all the interests
       generated from the underlying loans. Such interests are not generated until the
       lending relationship has been established between the borrowers and the
       individual investors, as the lenders, upon entering into the Underlying Loan
       Agreements. The existing individual investors cannot exit from any outstanding
       lending relationship uliless the underlying loan is fully repaid by the borrower or
       the outstanding loan principal with the remaining term is successfully re-matched
       with other individual investors. We provide ongoing matchmg and re-matching
       services to individual investors over the terms of respective Investment Programs
       while it does not have any obligatious to ensure such successful re-matching.

       We conclude that under the terms of the Underlymg Loan Agreements and the
       Investment Programs under the Juzi New Model, we are not the legal lender or
       borrower in the loan origination and repayment process. Accordingly, we do not
       record financing receivables arising from these loans nor funding debts to the
       individual investors.

                     Risk safeguard scheme on I/aei. I/.ccz;.

       Under the Juzi New Model, we have ceased offering the QAP for loans funded by
       the individual investors on J!4zz. I,7.CCH.. Instead, we entered into a cooperation
       agreement with an independent third-party guarantee company (the "Guarantee
       Company"), to set up a new investor protection program called the Risk



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     Safeguard Scheme ("RSS"). The purpose of the RSS is to provide make-up
     payments to the individual investors on /Lri. £i'cczz. when the borrowers default.
     TThe RSS only applies to loans newly funded under the Juzi New Model and
     requires the borrowers to contnbute to the RSS to protect the individual investors.
     By default, all borrowers enroll in the RSS when the Underlying Loan
     Agreements are entered into.

     Pursuant to the Underlying Loan Agreement, the borrower agrees to euroll in the
     RSS and pay the guarantee fee (the "Guarantee Fee") into the guarantee fund
     special account ("Risk Safeguard Fund") and the relevant guarantee service fees
     to the Guarantee Company. Accordingly, a certain amount of each monthly
     repayment from the borrowers, equal to a certain percentage of the outstanding
     principal balance of each loan, shall be transferred to the Risk Safeguard Fund.
     We have the discretion in determinmg the percentage, i.e. the amount of the
     Guarantee Fee, to be paid by the participating borrowers. The amount of make-up
     payments is limited to the available balance of the Risk Safeguard Fund. If the
     Risk Safeguard Fund become insufficient to pay back all individual investors with
     defaulted loans, these individual investors will be repaid on a pro rata basis, and
     their outstanding unpaid loans will be deferred to the next time the Risk
     Safeguard Fund are replenished, at which time a distnbution will again be made
     to all individual investors with those defaulted loans. The participation of the Risk
     Safeguard Fund is not refundable, even if there is no default of loans. Therefore,
     we concluded that we are the primary obligor in providing the guarantee services
     and record our obligations associated with the RSS in accordance with
     Accounting Standards Codification ("ASC") 460, Gffczrcz#/ees. The balance of
     Risk Safeguard Fund is recorded as "Restricted Cash" on our consolidated
     balance sheets.


     (b)    Loans funded by certaii. other institutional funding pai'tners such as
     third-I)artv commercial I)anks or consumer finance coini)anies

     For the loans funded by the proceeds from certain other institutional funding
     partners such as third-party commercial banks or consumer finance companies,
     each underlying loan and borrower has to be approved by the third-party
     commercial banks or consumer finance companies individually. Once the loan is
     approved by and originated by the third-party commercial baiik or consumer
     finance company, the fund is provided by the third-party commercial bank or
     consumer finance company to the borrower and a lending relationship between
     the borrower and the third-party commercial bank or consumer finance company
     is established through a loan agreement. Effectively, we offer loan facilitation and
     matching services to the borrowers who have credit needs and the commercial
     banks or consumer finance companies who originate loans directly to borrowers
     referred by us. We continue to provide account maintenance, collection, and
     payment processing services to the borrowers over the term of the loan
     agreement. At the same time, we also provide a financial guarantee on the
     principal and the accrued interest repayment of the defaulted loans in case of



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       borrowers' defaults, and full interest repayment in the event that borrowers early
       repay their loans. Under this scenario, we determine that we are not the legal
       lender or boITower in the loan origination and repayment process. Accordingly,
       we do not record financing receivables arising from these loans nor funding debts
       to the third-party commercial banks or consumer finance companies. Separately,
       we account for the financial guarantee provided.




17.      The 2019 20-F reported the following concerning delinquency rates:

             We define delinquency rate as outstanding principal balance of loans that
       were 1 to 29, 30 to 59, 60 to 89 and 90 to 179 calendar days past due as a
       percentage of the total outstanding principal balance of the loans on our platform
       as of a specific date. Loans that are delinquent for 180 days or more are charged
       off.

               The following table provides our delinquency rates for all loans
       (including on-and off-balance sheet loans) as of December 31, 2016, 2017 and
       2018:

                                                                        Delinquent for
                                            I -29 da}'s         30 -59 da}'s        60 -89 days      90 -179 da}`s

December 31, 2016                                    I.32%               0.55%               0.43%
December 31, 2017                                    I.55%               0.56%               0.45%
December 31, 2018                                    1.28%               0.69%               0.52%


               The following table provides our delinquency rates for installment
       purchase loans that were outstanding as of December 31, 2016, 2017 and 2018:

                                                                        Delinquent for
                                            I -29 days         30 -59 da}'s         60 -89 days      90 -179 da)'s
December 31, 2016                                    0.79%               0.37%               0,34%
December 31, 2017                                    0.79%               0.25%               0,18%
December 31, 2018                                    0.51%               0.28%              0.21 %


               The following table provides our delinquency rates for personal
       installment loans that were outstanding as of December 31, 2016, 2017 and 2018:

                                                                        Delinquent for
                                            I -29 days         30 -59 days          60-89da}'s       90 -179 days
December 31, 2016                                    1.46%               0.59%               0.45%
December 31, 2017                                    1.63%               0.59%               0.47%
December 31. 2018                                    I.32%               0.71%               0.53%




18.     The 2018 20-F stated the following concerning the company's registered users:

       From our inception in August 2013 through the end of 2018, we originated loans
       to over 7.2 million users on a cumulative basis. In 2016, 2017 and 2018, we


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        originated loans to approximately 3.0 million, 4.1 million and 4.9 million active
        users through our platform, representing a compound annual growth rate, or
        CAGR, of 28%. Our online consumer finance platform features a high proportion
        of repeat users. Of all active users on our platform in 2016, 2017 and 2018,
        approximately 74%, 80% and 80%, respectively, were repeat users who had made
        at least one transaction on our platform before in the same year or in the previous
        year. As of December 31, 2018, we llad over 10.5 million users with an approved
        credit line and over 37.3 million registered users.

19.      As to internal controls, the 2018 20-F stated that "management llas concluded that our

internal control over financial reporting was effective as of December 31, 2018."


20.      On April 30, 2020, the company filed its armual report on Form 20-F for the year ended

December 31, 2019 with the SEC (the "2019 20-F"). The 2019 20,F was signed by Defendant

Xiao. The 2019 20-F contained signed SOX certifications by Defendants Xiao and Zeng attesting

to the accuracy of financial reporting, the disclosure of any material changes to the Company's

internal controls over financial reporting, and the disclosure of all fraud.


21.     The 2019 20-F stated the following concerning the Company's off-balance sheet loans,

downplaying their riskiness:


       (a) Loans funded by certain Institutional Funding Partners such as third-party
       commercial banks or consumer finance companies

       For loans funded by the proceeds from certain Institutional Funding Partners such
       as third-party commercial banks or consumer finance companies, each underlying
       loan and Borrower has to be approved by the third-party commercial banks or
       consumer finance companies individually. Once the loan is approved by and
       originated by the third-party commercial bank or consumer finance company, the
       fund is provided by the third-party commercial bank or consumer finance
       company to the Borrower and a lending relationship between the Borrower and
       the third-party commercial bank or consumer finance company is established
       through a loan agreement. Effectively, the Group offers loan facilitation and
       matching services to the Borrowers who have credit needs and the commercial
       banks or consumer finance companies who originate loans directly to Borrowers
       referred by the Group. The Group continues to provide account maintenance and
       payment processing services to the Borrowers over the temi of the loan
       agreement. Under this scenario, the Group determines that it is not the legal
       lender or borrower in the loan origination and repayment process. Accordingly,




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     the Group does not record financing receivables arisiiig from these loans nor
     Funding Debts to the Institutional Funding Partners.


     (b) Loalis funded by the Individual Illvestors on Juzi Licai under the New Model
     (as defined hereinafter)

     In late April 2018, the Group made some adjustments to its business model for
     new loans funded by the Individual lnvestors on Juzi Licai (the "New Model",
     and the "Old Model" refers to the business model of Juzi Licai before such
     adjustments). Under the New Model, the Group's roles include: (I) matching the
     borrowing requests from the Borrowers with the Individual Investors on Juzi
     Licai, (2) processing monthly repayment from the Bonowers according to the
     terms of the Underlying Loan Agreements through third-party custodian bank
     accounts, and (3) providing ongoing management services to the Illdividual
     Investors over the terms of respective Investment Programs.

     Under the New Model, the Group acts as an intermediary between the Borrower
     and the Individual lnvestors. Pursuant to the Underlying Loan Agreement and the
     Investment Programs, the Individual Investors are entitled to all the interests
     generated from the underlying loans. Such interests are not generated until the
     lending relationship has been established between the Borrowers and the
     Individual Investors, as the lenders, upon entering into the Underlying Loan
     Agreements. The existing Individual lnvestor cannot exit from any lending
     relationship of outstanding loan unless the underlying loan is fully repaid or the
     outstanding loan principal with the remaining term is successfully re-matched
     with other Individual Investors. The Group provides ongoing matching and
     re-matching services to tlie Individual lnvestors over the terms of respective
     Investment Programs while it does not have any obligations to ensure such
     successful re-matching.

     The Group considers the terms of the Underlying Loan Agreements and the
     Investment Programs under the New Model and concludes that the Group is not
     the legal lender or borrower in the loan origination and repayment process.
     Accordingly, the Group does not record financing receivables arising from these
     loans nor Funding Debts to the Individual Investors.

     The balances of funds payable to Individual Investors represent the investment
     funds received from the Individual lnvestors on Juzi Licai under the New Model
     but not yet matched with and transferred to the Borrowers due to the settlement
     time lag.


     Risk safeguard scheme on Juzi Licai

     Under the New Model, the Group entered into a cooperation agreement with an
     independent third-party guarantee company (the "Guarantee Company"), to set up
     a new investor protection program called the Risk Safeguard Scheme ("RSS").



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       The purpose of the RSS is to provide make-up payments to the Individual
       Investors on Juzi Licai when the Borrowers default. The RSS only applies to
       loans newly funded under the New Model, and requires the Borrowers to
       contnbute to the RSS to protect the Individual Investors. By default, all
       Borrowers enroll in the RSS when the Underlying Loan Agreements are entered
       into.


       Pursuant to the Underlying Loan Agreement, the Borrower agrees to enroll in the
       RSS and pay the guarantee fee (the "Guarantee Fee") into the guarantee fund
       special account ("Risk Safeguard Fund") and the relevant guarantee service fees
       to the Guarantee Company. Accordingly, a certain amount of each monthly
       repayment from tlle Borrowers, equal to a certain percentage of the outstanding
       principal balance of each loan, shall be transferred to the Risk Safeguard Fund.
       The Group has the discretion in determining the percentage, i.e. the amount of the
       Guarantee Fee, to be paid by the participating Borrowers. The amount of make-up
       payments is limited to the available balance of the Risk Safeguard Fund. If the
       Risk Safeguard Fund become insufficient to pay back all Individual Investors
       with defaulted loans, these Individual Investors will be repaid on a pro rata basis,
       and their outstanding unpaid loans will be deferred to the next time the Risk
       Safeguard Fund are replenished, at which time a distribution will again be made
       to all Individual lnvestors with those defaulted loans. The participation of the
       Risk Safeguard Fund is not refundable, even if there is no default of loans.
       Therefore, the Group concluded that it is the primary obligor in providing the
        guarantee services and records its obligations associated with the RSS in
        accordance with ASC 460, Guarantees as discussed in Note 2(I). The balance of
        Risk Safeguard Fund is recorded as "Restricted cash" on the Consolidated
        Balance Sheets.

22.      The 2019 20-F stated the following concerning the Company's peer-to-peer lending


practices:

        Funds payable to Individual Investors decreased by 20.9% from RM8782 million
        as of December 31, 2018 to RM8619 million (US$88.9 million) as of December
        31, 2019. TI.e decrease was due to the fact that we have gradually sl.ifled our
        business model away fi.on. individual funding irnd ceased facilitating new loans
        with funding from individual il.vestors on Juzi Licai since November 2019 in
        order to fully comply with the requirements of the PRC regulatory authorities.
        See "Item 3. Key Information-D. Risk Factors-Risks Related to Our Business
        and Industry-We may be foi-ced to terminate our online lending information
        intermediary services if we fail to complete the record-filing for our online
        lending information intermediary services. We may also be required to gradually
        reduce the balance of loans on /#z!. £z.col.."


        (Emphasis added.)
23.          The 2019 20-F reported the following concerning delinquency rates:




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        We define delinquency rates as outstanding principal balance of on- and
        off-balance sheet loans that were 1 to 29, 30 to 59, 60 to 89, 90 to 179 calendar
        days past due as a percentage of the total outstanding principal balance of on-and
        off-balaiice sheet loans on our platform as of a specific date. Loans that are
        delinquent for 180 days or more are charged off and are not included in the
        delinquency rate calculation. We do not distinguish on the basis of the on- or
        off-balance sheet treatment in monitoring the credit risks of borrowers and the
        delinquency status of loans.

        The following table provides our delinquency rates for all loans (including on-
        and off-balaiice sheet loans) as of December 31, 2017, 2018 and 2019:


                                                                        Delinquent for
                                                  1 -29 days    30 -59 days       60 -89 da}'s   90 -179 da}'s
December 31, 2017                                   I.55%         0.56%             0.45%           1.14%
December 31, 2018                                   1.28%         0.69%             0.52%           I.41%
December 31, 2019                                   1.75%         I.12%             0.77%          I.560/o


        The following table provides our delinquency rates for installment purchase loans
        that were outstanding as of December 31, 2017, 2018 and 2019:


                                                                        Delinquent for
                                                  I -29 days    30 -59 da}'s      60 -80 days    90 -179 da}'s
December 31, 2017                                  0.79%          0.25%             0.18%           0.62%
December 31, 2018                                  0.51%          0.28%             0.21%           0.68%
December 31 ` 2019                                  i.03%         0.69%             0.47%           1.02%


        The following table provides our delinquency rates for personal installment loans
        that were outstanding as of December 31, 2017, 2018 and 2019:


                                                                        Delinquent for
                                                  I -29 da)'s   30 -59da}'s        60-89da}'s    90 -179 da)'s
December 31, 2017                                  1.63%          0.59%             0.47%           1.20%
December 3 1, 201 8                                 1.32%         0.71%             0.53%           I.45%
December 31, 2019                                  1.78%           I.14%            0.78%           I.58%




24.      The 2019 20-F stated the following concerning the company's registered users:

        From our inception in August 2013 through the end of 2019, we originated loans
        to over 13.3 million users on a cumulative basis. In 2017, 2018 and 2019, we
        originated loans to approximately 4.1 million, 4.9 million and 9.9 million active
        users through our platform, representing a compound annual growth rate, or
        CAGR, of 55.40/o. Our online consumer finance platform features a high
        proportion of repeat users. Of all active users on our platform in 2017, 2018 and
        2019, approximately 80%, 80% and 81°/o, respectively, were repeat users who had



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       made at least one transaction on our platfom before in the same year or in the
       previous year. As of December 31, 2019, we had over 19.4 million users with an
       approved credit line and over 73.3 million registered users.
25.     As to internal conti.ols, the 2019 20-F stated that "management has concluded that our

internal control over financial reporting was effective as of December 31, 2019."


26.     The statements contained in T|15-25 were materially false and/or misleading because they

misrepresented and failed to disclose the following adverse facts pertaining to tlle Company's

business, operations and prospects, which were known to Defendants or recklessly disregarded

by them. Specifically, Defendants made false and/or misleading statements and/or failed to

disclose that: (1) LexinFintech reported artificially low delinquency rates by giving borrowers in

default new funds to make payments; (2) the Company's business model exposes shareholders to

enormous losses by prioritizing Chinese lenders for off-balance sheet loans; (3) the Company

exaggerated its user base; (4) the Company was facilitating direct peer to peer lending contrary

to Chinese law; (5) the Company engaged in undisclosed related party transactions; (6) the

Company lacked adequate internal controls; and (7) as a result, Defendants' statements about its

business, operations, and prospects, were materially false and misleading and/or lacked a

reasonable basis at all relevant times.

                                           THH TRUTH EMERGES

27.       On August 25, 2020, Grizzly Research published a report describing, among other


things, how the Company: (i) reports artificially low delinquency rates by giving boiTowers in

default new funds to make payments; (ii) has a business model that exposes shareholders to

enormous losses; (iii) was still conducting direct peer to peer lending despite claiming

otherwise,      (iv)   lacked   internal    controls;   and   (v)   conducted   undisc[osed   related party

transactions.




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28.     The report alleged that the Company had accumulated a giant off-balance sheet loan

book that was guaranteed by shareholders, stating, in pertinent part:

       Since 2018, LX has been shifting to off-balance sheet loans by facilitating loans
       between its customers and institutional funding partners. This is the main driver
       of the company's revenue growth in the past two years.
                                                                  ***

       We believe the increase in the off-balance sheet loans outstanding makes it hard
       for investors to gauge what kind of risks are associated with these loans. Although
       the risk prole of the on-balance-sheet loans might not be the same for the
       off-balance sheet loans, we believe it is a good proxy for investors to get a general
       idea of how the risk profile has shifted in the last two years.

                                   Z016             2017            2,018          Z,019                  2016         2017        2,018            2'019

          Risk level:


          A                       2,575,784        3,078,483       1,544,637        996,524                33.4%        25.6%        22,7%          20.8%

          a                       1,296,013        2,235,552       1,502,681      1,023,490                16.8%        18.6%        22.1%         21.4%


          C                       2,455,076        2,890,202       1,447,785        661,688                31.8%        24.1%        21.3%          13.8%

          D                         892,322        2,714,510       1,359,982        856,633                11.6%        22.6%        20,09/a        17.9%


          i                         206,164          807,290        308,528         625,700                  2.7%        6,7%         4,5%          13.1%


          F                          67,973          170,335        318,276         399,073                  0.9%        1,4%         4,7%           8.3%


          N and others              218,540          116,078        325,817         221,925                  2'8%        1,0%         4.8%           4.6%


          Total                   |,Jll,872       12,012,450      6,807,706       4,785,033               100.0%       100.0%      100.0%          100.0%

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       Above is tlie table that summarizes the company's net record investment of the
       financing receivables, by credit quality indicator, from 2016 to 2019.

       It is evident that the percentage of loans from risk levels D and below increased
       dramatically from 2016 to 2019. To put into perspective, the total percentage of
       loans from risk levels D, E, F and N and others increased from 18.0% in 2016 to
       44.0% in 2019.


       Typically, it would make sense for the company to put relatively better loans in
       terms of risk on its own balance sheet and put the loans that are riskier off its
       balance sheet. Thus, it is reasonable to assume the risk profile of the loans that are
       off-balance sheet is as least as bad as what is shown on its balance sheet.
                                                                  ***

       We believe LX's business model is widely misunderstood. Investors seem to be
       largely unaware that, even if the majority of the company's loans outstanding are
       off-balance sheet, it still needs to provide protection for a lot of these loans.

                    • For the off-balance sheet loans funded by the individual investors on Juzi
                    Licai, LX provides a risk safeguard scheme to the individual investors




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           and records the obligations associated with the RSS in accordance with
           ASC 460, Guarantees.
           • For the off-balance sheet loans funded by certain Institutional Funding
           Partners, LX provides deposits and replenishes such deposits from time
           to time to the institutional funding partners by directly compensating them
           for principal and interest payment in the event of the borrowers' defaults,
           which are accounted for as guarantee liabilities under ASC 460,
            Guarantees, provided that the scope exception under ASC 815-10-15-58 is
            met.


    We believe that LX's structure has exposed shareliolders to giant off-balance sheet
    liabilities while protecting Chinese institutional investors. While in good times
    big leverage might work in your favor, it also exposes you to greater risk when
    the going gets rough. We believe the time has come for LX's scheme to unfold
    and it is only a question of time until the company must restructure or wipe out
    shareholders. Our belief is based on four key insights:
              1. Recent guidelines issued by SPC and NDRC put significant downward
            pressure on the future usury hurdle. Under the newly proposed interest
            rate, LX's business will see a significant decrease in profits, if not a
            complete wipeout of business.
            2. LX is essentially targeting low credit quality consumers in China. Even
            under current interest hurdle rates, LX's consumer lending platform seems
            to be predatory. There are countless complaints about usurious interest
            rates (36% apr is usury hurdle in China) and predatory collection
            practices. These consumers are likely unable to obtain credit from
            traditional financing methods.
            3. The Corona Virus has forced many Chinese borrowers into delinquency.
            We believe the recent delinquency rates LX reports seem way too low and
            are utterly untrustworthy. This effect should disproportionally affect
            low-quality borrowers who are willing to pay the excessive iiiterest rates
            LX charges.
            4. We observed that LX seems to extend and restructure loans to give
            the appearance of performance and current-ness of old loans where
            the borrower is actually delinquent or in default.

     Additionally, we have evidence that makes us strongly doubt the integrity of the
     financial statements in general and the legality of certain business practices in
     particular:
             - LX seems to be still facilitating direct peer to peer lending, which is
            generally outlawed as illegal in China.
            - Several employees of LX operate companies in the similar business as
            LX. We suspect tliese undisclosed related parties are used to inflate
            financials and conduct borderline illegal activities such as direct
            peer-to-peer lending and aggressive debt collections.
            -Big restatements of past financials cast doubt on the integrity of financial
            statements.




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                 -   Insiders   are   selling   shares,   and   pocketing   unordinary   high
                 compensations.

29.     The report provided evidence that the company was selling direct peer to peer lending


products despite claiming otherwise:

       Despite what the company claimed, we discovered that LX is blatantly lying to
       the government and investors, and are continuing to offer P2P products on its Juzi
       Licai app (LX's P2P Mobile App). We are also quite amazed at how auditors
       neglected a red flag that was so easy to identify. All they had to do was to
       download the application and look at the product offerings. As of the date of this
       repoil, LX's Juzi Licai is still offering 8 products with interests ranging from 5%
       to over 10%. The products are sold daily at loam every day. A variety of products
       are offered everyday at 10:00 Beijing Time.


       [image omitted]

       Each product has a detailed breakdown of the related transaction personnel
       involved, including whose loan was matched with whose money. For example, in
       this case, on July 8th, a person Surnamed Rong borrowed RMB 90,000 and
       received loans from over 2818 lenders.


       [image omitted]

        Evei. as of today, we still see cases where peer loans are matched with peer
       lenders on the Juzi Licai platform, in the typical P2P fil1ance fashion. It is
       mind-boggling that LX continues to sell P2P products under the current
       stringent regulatory environment. We believe this could cause a big backlash
       once the regulator dctermilres to take actioi. on this activity.

       It seems LX is in clear violation of the current regulation from the city of
       Shenzhen, Guangdong Province. According to a media report, on December 7,
       2018, the Shenzhen lnternet Finance Association (a self-regulating body backed
       by the local government) issued a notice that put additional strict rules on the P2P
       sector.


       (Emphasis added.)

30.     The repoil also alleged that employees were holding equity interests in companies that

were undisclosed by Lexinfintech as subsidiaries:




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                   Executive Director                                                   Supervisor                                                  Manager
                         Individual Shaiehotder:                              lr[dividiial Shareholder:                                  lndividuelsharehoider:
                         Y"G Tao (50%}                                        YUAN Kai |25%)                                             RA Ming (25xi




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     During the research, we identified at least five companies that are owned by
     individuals who we believe are related to LX.

     We obtained SAIC filing on the above companies and discovered that only Beihai
     Jiguang had meaningful financials. The company generated 52m RMB in revenue
     in 2018, of which close to 20M RMB were from loan collection services provided
     most likely to LX. (Note that there were no costs associated with the additional
     20M revenue.) It's as if the company gave this money to Beihai Jiguang for free.

     The parent company Beihai Caidan lists www.mycaidan.com as their official
     website. The website is no longer functional as of the date of this report.
     However, wayback archive suggests that the website previously hosted MMM
     Finance (MMMEEb£RISFa). In 2016, Chinese Central Bank waned investors
     to not participate in MMM Finance. Due to the website's previous involvement in
     MMM Finance, we do not believe this related party to be a credible company. We
     suspect this is one of the reasons why the company was not disclosed as a related
     party.

     [image omitted.]




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       Tlnee individuals own Beihai Caidan E-Commerce Co„ Ltd ("Beihai Caidan"),
       which has another 4 subsidiaries. Those individuals are YANG Tao (50%),
       YUAN Kai (25%), and Ma Ming (25%). YANG Tao is also the legal
       representative of Beihai Caidan.

       On LX's official website, YANG Tao was listed as the company's Vice President.


       [image omitted.]

       With the employee being legal representative and combined 75% equity interest
       of Beihai Caidan (along with its 4 subsidiaries) owned by its employees, we
       believe it is reasonable to say that LX has the ultimate control over Beihai Caidan.
       According to the introduction on Beihai Caidan's business per SAIC filings, it
       includes:
               Commerce        iiiformation consultiiig services, e-coinmei.ce informatioi.
              consulting       sei\Jices,  electi.onic  and   network electi'onic pi.oduct
               development,      teclmologica[     consulting,     technological   services,
               tecluiological promotioii and tralisfer. Enterprise iiifoTma{ion consulting
               service, etc.

       These business desci-iptions share similarities to LX's consumer financing lending
       business and we highly suspect there are undisclosed related party transactions
       between these two parties.

31.     The report also alleges that the Company entered into an undisclosed related party

transaction with the Chainnan's relative:

       According to the SAIC information, Ji'an Microcredit was established on
       December 2, 2016, and it was 100% owned by one of LX's subsidiaries until May
       8, 2019, when a company called Jiangxi Leyu Technology Co., Ltd. (}IEzi=¥E±
       *ilj±7E PR/A\E, "Jiangxi Leyu") became a 34% shareholder. There is limited
       information on Jiangxi Leyu, but we also found that there is another company
       called±±9§5gtil/i,E`#tflEB#7EFR/4\F             (Ji'an    Aojuxun        Information
       Consulting Services Co., Ltd. "Ji'an Aojuxun"), which shares the same phone
       number (15079604902), email address (1913425305@qq.com), and both of the
       companies are on the 7th floor of the same building.

       Ji'an Aojuxun is 80% owned by an individual named XIAO Wenjuan, whose
       name is very siinilar to LX's Chairman and CEO, XIAO Wenjie. We strongly
       suspect this individual to be in fact the chairman's sister, and act as a proxy on his
       behalf. If true, this constitutes a clear violation of SEC disclosure guideline.

       We suspect the reason why XIAO Wenjuan (related to XIAO Wenjie) wants to
       control Ji'an Microcredit is that the microcredit lending business has a much
       lower regulatory risk. In November 2019, the National Fintech Risk Regulators



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    issued a notice that guides P2P companies to transforms to become microcredit
    lending companies. That means microcredit lending business, in regulator's
    views, is a lower risk sector than the P2P sector, and it appears to us that XIAO
    Wenjuan's move in May 2019 is to take advaiitage of this regulatory trend in
    advance.

    We question why the management failed to disclose this transaction at the time.
    Was it due to favorable pi-ices? Was it due to the family cormection? We suspect
    both!


    The report fuilher alleged that the Company was deflating its default and delinquency




    We believe LX has artificially deflated its default and delinquency ratio to give
    the appearance of a mc>re healthy financial position.

    We believe the LX has been artificially increasing the maturity of the loans upon
    default through a feature called "Efr`RE", installment on installment and "E±/EEiz
    i*JiR#", minimum payment. To put this into perspective, this is equivalent to
    when your minimum credit card payment comes due this month, the company
    gives anotlier extension to your minimum payment and treat it as a new credit
    loan.


    According to LX users, LX has recently been extending the maturity of their loans
    on the second day after they become delinquent. We believe the company has
    been secretly doing so for a long time.

    One user applied for this extension on the third day of becoming delinquent. His
    loan balance suddenly spread out over 12 months.


     [image omitted.]

     This feature has been implemented by LX since 2016. However, it was only used
     on loans that weren't delinquent. Now, most likely due to effects of
     COVID-19, the company has deployed this tactic on delinquent loans to
     generate a seemingly healthy loan portfolio. The users don't have to pay back
     the amount immediately and the company no longer has to book delinquencies.
     ***

     However, there are some symptoms we can expect from this scheme.

     Overall High APR

     Note that in China, the legal upper limit of interest rate is separated into two
     tranches, 24% and 36%. For borrowers who have not repaid interest, the lender
     must not ask for an APR higher than 24%. The amount exceeding 24% will not be



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       protected by law. For borrowers who have already paid interest, borrowers can
       request the amount of interest exceeding APR of 36% to be returned.

       LX's APR has been consistently over 24% in 2018Q4 and will likely continue to
       rise due lower asset credit qualities and the installment on installment scheme.
       This has been above the legal interest rate. Borrowers can refuse to pay such
       amounts. In other words, tlie increase of APR cannot go on.

       Furthermore, the recent regulation in China will likely further limit the company's
       ability to charge excessive APR.

       Deteriorating Credit Performance

       Another symptom we can expect is the deterioration of credit performance
       measured by many factors, including vintage rate, charge-off rate, delinquency
       rate, and default rates. While some are more reliable than others, in the case of
       LX, we see deterioration in all metrics.

       Vintage Rate
       Vintage rate is defined as the amount of net delinquent loans during a period
       (vintage) to the total amount of loans originated during that same period. The
       metric is more reliable thaii the delinquency rate since delinquency rates can
       easily be manipulated by growth.

       Below is the chart c>f LX's vintage rate up to Q2 2020. As we can see, the lines
       that are to the upper-left tend to be shorter than those to the lower left. The length
       of the line cc>rresponds to the period of origination. Shorter lines indicate that less
       time has passed, thus corresponds to more recent periods, and longer lines
       correspond to more distant periods. We see f/Iaf "cwcr tJfrof¢gcs are /cotj!.Hg
       higher delinqueney rates, indicating lower credit quality.

       [image omitted]

       We see a taller vintage curve due to lower quality loans being packaged together
       into newer loans. As discussed below, a tall vintage curve indicates a recent
       deterioratior\ of asset qualrty. We believe as LX repackages delinquent loai.s and
       selling them to investors, they are postponing the inevitable delinqueney into
       /afar peri.ode. This can already be seen in the changes in the vintage curve. We
       believe this trend will continue and that LX's loans will become even riskier.



       (Emphasis added.)

33.     The report contained an analysis of the Company's web traffic, which cast significant

doubt on its purported growth:



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       Below is the Baidu index for LX's key consumer lending product Fenqile (£`£B
        i=) from the beginning of 2017 to May 21, 2020. One can easily see that in the
       past couple of years the index has rather at. This does not make sense given that
       the LX's registered users increased fi-om 20.2M at IPO Source: Baidu Index to
       84.2M as of March 2020, or approximately 300% in total.

       We dare to ask: How does a company manage to grow by 3x when the website
       traffic on its main platform appears to be at or even declining?




34.     On this news, shares of LexinFintech stock fell $0.47 per share or 5.52% to close at

$8.04 per share on August 25, 2020.

35.     As a result of Defendants' wrongful acts and omissious, and the precipitous decline in

the market value of the Company's common shares, Plaintiff and other Class members have

suffered significant losses and damages.

                     PLAINTIFF'S CLASS ACTION ALLEGATIONS

36.     Plaintiff brings this action as a class action pursuant to Federal Rule of civil procedure

23(a) and @)(3) on behalf of a class consisting of all persons otlier than defendants who

acquired LexinFintech securities publicly traded on NASDAQ during the Class Period, and who

were damaged thereby (the "Class"). Excluded from the Class are Defendants, the officers and

directors of LexinFintech, members of the Individual Defendants' immediate families and their




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legal representatives, heirs, successol.s or assigns and any entity in which Officer or Director

Defendants have or had a controlling interest.

37.     The members of the class are so numerous thatjoinder of all members is impracticable.

Throughout the Class Period, LexinFintech securities were actively traded on NASDAQ. While

the exact number of Class members is unknown to Plaintiff at this time and can be ascertained

only through appropriate discovery, Plaintiff believes that there ai-e hundreds, if not thousands of

members in the proposed Class.

38.      Plaintiff's claims are typical of the claims of the members of the class as all members of

the Class are similarly affected by defendants' wrongful conduct in violation of federal law that

is complained of herein.

39.      Plaintiffwill fairly and adequately protect the interests of the members of the class and

has retained counsel competent and experienced in class and securities litigation. Plaintiff has

no interests antagonistic to or in conflict with those of the Class.

40.      Common questions of law and fact exist as to all members of the class and predominate

over any questions solely affecting individual members of the Class. Among the questions of

law and fact common to the Class are:

                whether the Exchange Act were violated by Defendants' acts as alleged herein;

                whether statements made by Defendants to the investing public during the Class

                Period misrepresented material facts about the financial condition and business

                LexinFintech;

                whether Defendants' public statements to the investing public during the Class

                Period omitted material facts necessary to make the statements made, in light of

                the circumstances under which they were made, not misleading;




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                  whether the Defeiidants caused LexinFintech to issue false and misleading SEC

                  filings during the Class Period;

                  whether Defendants acted knowingly or recklessly in issuing false and SEC

                  filing


                  whether the pi-ices of LexinFintech securities during the Class Period were

                  artificially inflated because of the Defendants' conduct complained of herein;

                  and

                  whether tlie members of the Class have sustained damages and, if so, wliat is the


                  proper measure of damages.

41.      A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Fuilhermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.


42.      Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

                  LexinFintech shares met the requirements for listing, and were listed and actively

                  traded on NASDAQ, a highly efficient and automated market;

                  As a public issuer, LexinFintech filed periodic public reports with the SEC and

                  NASDAQ;

                  LexinFintech regularly communicated with public investors via established

                  market communication mechanisms, including through the regular dissemination




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               of press releases via major newswire services and through other wide-ranging


               public disclosures, such as communications with the financial press and other

               similar reporting services; and

               LexinFintech was followed by a number of securities analysts employed by

               major brokerage firms who wrote reports that were widely distributed and


               publicly available.

43.     Based on the foregoing, the market for LexinFintech securities promptly digested current
information regarding LexinFintech from all publicly available sources and reflected such
information in the prices of the shares, and Plaintiff and the members of the Class are entitled to
a presumption of reliance upon the integrity of the market.
44.     Altematively, Plaintiff and the members of the Class are entitled to the presumption of

reliance established by the Supreme Court in J4j7?/rd/ed Ufc a.#.ze7zs o/ fAe Sfcz/e o/ Ufczfe v.

I/"7tecJ S/¢/es, 406 U.S. 128 (1972), as Defendants omitted material information in their Class

Period statements in violation of a duty to disclose such information as detailed above.

                                           COUNT I
         For Violations of Section loo) And Rule lob-5 Promulgated Thereunder
                                 Against All Defendants


45.      Plaintiff repeats and realleges each and every allegation contained above as if fully set
forth herein.
46.      This count is asseiled against Defendants is based upon section 10(b) of the Exchange
Act,15 U.S.C. § 78j(b), and Rule lob-5 promulgated thereunder by the SEC.
47.       During the class period, Defendants, individually and in concert, directly or indirectly,

disseminated or approved the false statements specified above, which they knew or deliberately

disregarded were misleading in that they contained misrepresentations and failed to disclose

material facts necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading.

48.     Defendants violated §10(b) of the 1934 Act and Rule lob-5 in that they:

               •       employed devices, schemes and artifices to defraud;




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                      made untrue statements of material facts or omitted to state material facts

                      necessary     in   order to make the statements made, in light of the

                      circumstances under which they were made, not misleading; or

                      engaged in acts, practices and a course of business that operated as a fraud

                      or deceit upon plaintiff and others similarly situated in connection with

                      their purchases of LexinFintech securities during the Class Period.

49.    Defendants acted with scienter in that they knew that the public documents and

statements issued or disseminated in the name of LexinFintech were materially false and

misleading; knew that such statements or documents would be issued or disseminated to the

investing public; and knowingly and substantially participated, or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the securities laws.

These defendants by virtue of their receipt of information reflecting the true facts of

LexinFintech, their control over, and/or receipt and/or modification of LexinFintech's allegedly

materially misleading statements, and/or their associations with the Company which made them


privy to confidential proprietary information concerning LexinFintech, participated in the

fraudulent scheme alleged herein.

50.      Individual Defendants, who are the senior officers and/or directors of the company, had

actual knowledge of the material omissions and/or the falsity of the material statements set forth

above, and intended to deceive Plaintiff and the other members of the Class, or, in the

alternative, acted with reckless disregard for the truth when they failed to ascertain and disclose

the true facts in the statements made by them or other LexinFintech personnel to members of the

investing public, including Plaintiff and the Class.




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51.          As a result of the foregoing, the market price ofLexinFintech securities was artificially

inflated during the Class Period. In ignorance of the falsity of Defendants' statements, Plaintiff

and the other members of the Class relied on the statements described above and/or the integrity

of the market price of LexinFintech securities during the Class Period in purchasing

Lex.inFintech securities at prices that were artificially inflated as a result of Defendants' false

and misleading statements.

52.          Had Plaintiff and the other members of the Class been aware that the market price of

LexinFintech securities had been artificially and falsely inflated by Defendants' misleading

statements and by the material adverse information which Defendants did not disclose, they

would not have purchased LexinFintech securities at the artificially inflated prices that they did,

or at all.


53.           As a result of the wrongful conduct alleged herein, Plaintiff and other members of the

Class have suffered damages in an amount to be established at tnal.

54.          By reason of the foregoing, Defendants have violated section 10(b) of the l934 Act and

Rule lob-5 promulgated thereunder and are liable to the plaintiff and the other members of the

Class for substantial damages which they suffered in connection with their purchase of

LexinFintech securities dunng the Class Period.

                                               COUJNTII
                            Violations of Section 20(a) of the Exchange Act
                                  Against the Individual Defendants


55.          Plaintiff repeats and realleges each and every allegation contained in the foregoing


paragraphs as if fully set forth herein.

56.          During the Class Period, the Individual Defendants participated in the operation and

management of LexinFintech, and conducted and participated, directly and indirectly, in the



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conduct of LexinFintech's business affairs. Because of their senior positions, they knew the

adverse non-public information about LexinFintech's misstatement of revenue and profit and

false financial statements.

57.      As officers and/or directors ofa publicly owned company, the Individual Defendants had

a duty to disseminate accurate and truthful information with respect to LexinFintech's financial

condition and results of opei-ations, and to con.ect promptly any public statements issued by

LexinFintech which had become materially false or misleading.

58.       Because of their positions of control and authority as senior officers, the Individual

Defendants were able to, and did, control the contents of the various reports, press releases and


public filings which LexinFintech disseminated in the marketplace during the Class Period

concerning LexinFintech's results of operations. Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause LexinFintech to engage in the wrongful

acts complained of herein. The Individual Defendants therefore, were "controlling persons" of

LexinFintech within the meaning of Section 20(a) of the Exchange Act. In this capacity, they


participated in the unlawful conduct alleged which artificially inflated the market price of

LexinFintech securities.

59.      By reason of the above conduct, the Individual Defendants are liable pursuant to section

20(a) of the Exchange Act for the violations committed by LexinFintech.

                                    PRAYER FOR RELIEF


        WHHREFORE, plaintiff, on behalf of himself and the Class, prays for judgment and
relief as follows:


        (a)      declaring this action to be a proper class action, designating plaintiff as Lead

Plaintiff and certifying plaintiff as a class representative under Rule 23 of the Federal Rules of

Civil Procedure and designating plaintiff's counsel as Lead Counsel;


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       (b)      awarding damages in favor of plaintiff and the other class members against all

defendants, jointly and severally, together with interest thereon;

       awarding plaintiff and the Class reasonable costs and expenses incurred in this action,

including counsel fees and expert fees; and


       (d)      awai-ding plaintiff and other members of the class such other aiid further relief as

the Court may deem just and proper.

                                 JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.



Dated: September 9, 2020



                                                      RANSOM, GILBERTSON, MARTIN &
                                                      RATLIFF, LLP
                                                      8401 NE Ha[sey Street Suite 208
                                                      Portland, OR 97220
                                                      T: 503-226-3664


                                                      THE ROSEN LAW FIRM, P.A.
                                                      Phillip Kin, Esq.
                                                      Laurence M. Rosen, Esq.
                                                      275 Madison Avenue, 40th Floor
                                                      New York, NY 10016
                                                      Telephone: (212) 686-1060
                                                      Fax: (212) 202-3827
                                                      Email: pkim@rosenlegal.com
                                                             lrosen@rosenlegal.com
                                                      Counsel for Plalntif f

                                                      THE SCHALL LAw FIRn4
                                                      Brian Schal[, Esq.
                                                      2049 Century Park East, Suite 2460
                                                      Los Angeles, CA 90067
                                                      Telephone: (310) 301-3335
                                                     Fax: (877) 590-0482
                                                     Email: brian@schallfirm.com
                                                     Additional Counsel for Plaintiff




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                                                           CERTIFICATION

            The individual or Institution listcd below (the "Plaintiff') authorizes the firm to file an action (u.
            amend a ciirrent action imder the t`ederal securities laws to recover daiiiages and to seek other relief
            against LcxiiiFintech lioldlngh Ltd. (NASDAQ: LX), and thelr current and former officers` and
            others in connection with tlie purchase and sale ot`securlties isstled by LexinFintech Holdings Ltd.


            Plaintiff declarcs` as to the clalms asserted uiider the federal securilies laws, that:


                      1.        I have revlcwcd a complamt against LcxinFintech Holdings Ltd. and certain of their
                              ot`riccrs and directors and I auth()rize the filing o+` a comparable c()mplaint on my
                              behalf.


                     2.         I did not engage ln transactions in the securities that are the subject of this action at
                              the dircctlon of plaintit`fs counsel or ln order to participatc in this or any other
                              litigatioii ulider the securities laws ol`the United States.


                     3.        I am williiig to seive as a lead plallltiffeillier Individually oi. as part ofa group. A
                              lead plaintiff i`` a rcprescntativc party who acts on bchalf` ot` other class members in
                              dii-ccting the action` and whose dutles may include testifying at deposition and trial.


                     4.         The following is a llsl ofall oftlie purcliases and sz`les I have made in LexinFintech
                              Holdings Ltd. sccurities during the Class Perlod set forth in the complaint. I have
                             inade no transactions durlng tlie class period ill the securities that are the subuecl of
                             this lawsuit except those set forth below.


                                        See Schcdiile A

                     5.        I ha\'e not"rithin tllc thrcc years prcccding the date of this ccrtiflcatlon, sought to
                             serve or ser\'ed as a representatlve party on beh.1lf of a class in an action Involving
                             alleged     \iolations   of thc   federal   sccuritics   laws.   except   f`oi.   the   following
                             company(ies):


                             I will not accept any payment for scrving as a reprcscntative party bcyond my pro
                             rata share of any recovery, except reasonable costs and expenses, such as travel
                             expenses and lost wages directly related to the class repi.esentation, as ordered or
                             approved by the court pursuant to law.

            I declare ullder penalty ofpcrjury u]1dcl. tL19nlg,w;s.;)f the Umtcd States of America that the foregoing
            is true and correct. Executed this day       9 / 9 / TfjRfJ


                                                                           _,'/
                                                        Signature:       --u-
                                                                     iocuSIgned by
                                                        Name: Robert Solis
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                                           SCHEDULE A


                                          ROBERT SOLIS

                                  (`LASS PERIOD TRANSA(TTONS

          PURCHASES                                              SALES

   DATE           SHARES      PRICE                      DATE        SI+ARES         PRICE

6/I ()/2020         10        $9.30
5/26/2020                     $8.22
5/20/2020                    $9.9861
4/27/2020                    $8.2767
